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                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

    THE UNITED STATES OF AMERICA,                §
                                                 §
                                                 §
    v.                                           §
                                                      CRIMINAL NO. A-23-CR-135-RP
                                                 §
    SAINT JOVITE YOUNGBLOOD                      §
         a.k.a. Kota Youngblood,                 §
                          Defendant.             §
                                                 §

          GOVERNMENT’S MOTION FOR LIMITED SEALING OF EXHIBITS

         The Government respectfully requests that the exhibits below be sealed pending further

order of the Court. 1 As explained herein, as to the temporary sealing of each of these exhibits, the

public’s qualified right of access to judicial records is outweighed by legitimate countervailing

rights of the defendant, witnesses, victims, or law enforcement. 2 See S.E.C. v. Van Waeyenberghe,

990 F.2d 845, 848 (5th Cir. 1993) (“In exercising its discretion to seal judicial records, the court

must balance the public's common law right of access against the interests favoring

nondisclosure.”).




1
  The Government seeks temporary sealing of these exhibits at least until the time of Youngblood’s
sentencing, to allow the Government sufficient time to propose appropriate redactions of these
exhibits for eventual public disclosure. Additionally, the Government’s sealing request should not
be construed as limiting the parties’ access to the relevant exhibits for lawful litigation purposes,
consistent with this Court’s protective order [ECF No. 30].
2
  Public access to judicial records serves to promote trustworthiness of the judicial process, to curb
judicial abuses, and to provide the public with a more complete understanding of the judicial
system, including a better perception of its fairness. Littlejohn v. Bic Corp., 851 F.2d 673, 682 (3d
Cir. 1988). Immediate and full disclosure of the identified exhibits would not meaningfully further
these purposes, as balanced against countervailing factors, including victims’ rights to be treated
with fairness and with respect for their dignity and privacy. See 18 U.S.C. § 3771(a)(8).
                                                  1
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     Exhibit              Exhibit Description                   Justification For Sealing
     Number
                                                              Contains peronally identifiable
                   Youngblood passport and passport         information (PII) of defendant and
       G-2 3
                                card                     disclosure serves little legitimate public
                                                                           interest.
                                                          Contains PII, including reference to a
       G-4                   Holloway will
                                                                            minor.
       G-11           Youngblood birth certificate                      Contains PII.
                                                         Contains PII, including PII of a minor;
       G-13             Youngblood tax returns                statutorily protected federal tax
                                                                        information.
     G-21 – G-
     22, G-24,
     G-31, G-
    33 – G-57,
                                                         Agent still works as undercover agent in
     G-60 – G-     Audio/Video Recordings Involving
                                                          other cases; publication of his likeness
    63; D-59 –            Undercover Agent
                                                              and voice could endanger him.
     D-70 (not
     including
    sub-exhibit
    transcripts)
       G-69               Copy of DOJ search                    Contains PII of defendant.
                    Levins – Witness Testimony DOJ
       G-72                                                     Contains PII of defendant.
                              Youngblood
                      Flag appraisal email - Perardi
       G-75                                                            Contains PII.
                               Bridgman
                       Flag Invoice - April 2022 -
       G-76                                                            Contains PII.
                         Bridgman Youngblood
                      Flag Payments - Knecht Wire         Contains PII, including bank account
       G-78
                               Transfers                                numbers.
    G-84 – G-                                             Contains PII, including bank account
                    Eric Perardi Financial Documents
       104                                                              numbers.
     G-105                Perardi - Clock Emails                     Contains PII.
                   Steiner Ranch Truth (@TruthRanch)
      G-115                                                            Contains PII.
                                – Twitter
     G-116 –                                              Contains PII, including bank account
                      Perardi Financial Documents
      G-119                                                             numbers.
     G-120 –            Lane Holloway Financial           Contains PII, including bank account
      G-122                   Documents                                 numbers.
                      Lane Holloway Family Name
      G-123                                               Contains PII, including PII of minors.
                             Change Order
                                                            Contains PII and derogatory, false
      G-125                Derogatory Flyers
                                                               statements about victims.

3
    Government exhibits are denoted in this table as G-# and defense exhibits are denoted D-#.
                                                     2
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Exhibit              Exhibit Description                  Justification For Sealing
Number
                                                        Contains peronally identifiable
               Youngblood passport and passport       information (PII) of defendant and
   G-2 3
                            card                   disclosure serves little legitimate public
                                                                   interest.
   G-138        Lane Holloway - Wire Receipts                    Contains PII.
G-139 –G-
  140, G-
 142 – G-
               Lane Holloway Notes and Excerpts     Contains PII, including PII of minor.
  143, G-
 161 – G-
    163
                                                     Contains PII and derogatory, false
  G-144           February 2023 Yelp Review
                                                       statements about individuals.
  G-167               Photo of dog tags                  Contains PII of defendant.
 G-177 –           James Holloway Financial         Contains PII, including bank account
  G-182                  Documents                                numbers.
G-188, G-
 191, G-                                            Contains PII, including bank account
               Gary Snider Financial Documents
197 – G-                                                          numbers.
   218
 G-192 –                                             Contains images of victims and the
                      Gary Snider Videos
  G-196                                                  interior of their residence.
                 Hanfu Lee - Money Paid to
  G-245                                                          Contains PII.
                Youngblood from 2010 to 2017
                 Hanfu Lee - Money Paid to
  G-247                                                          Contains PII.
                    Youngblood in 2023
G-249 –G-                                           Contains PII, including bank account
                Hanfu Lee Financial Documents
   250                                                            numbers.
                 Youngblood July 2023 Navy          Contains PII, including bank account
  G-251
                 Federal Statement and Wires                      numbers.
                                                    Contains PII of defendant, including
  G-284              Photo of Credit Cards
                                                             account numbers.
   G-295          Southwest Airlines Records        Contains PII, including PII of minor.
D-1 –D-8
(including
    sub-
exhibits of
 D-1), D-                                           Contains PII, including bank account
               Eric Perardi Financial Documents
42, D-44 –                                                        numbers.
 D-57, D-
  101, D-
  104, D-
  111, D-


                                               3
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  Exhibit             Exhibit Description                    Justification For Sealing
  Number
                                                           Contains peronally identifiable
                Youngblood passport and passport         information (PII) of defendant and
    G-2 3
                             card                     disclosure serves little legitimate public
                                                                      interest.
  144 – D-
     146
  D-9 – D-
  10, D-13,
  D-15, D-
                       Eric Perardi Emails                          Contains PII.
 84 – D-85,
 D-89 – D-
 90, D-107
                  Perardi engagement letter with
    D-14                                                            Contains PII.
                    Steve Toland Law Office
 D-17 – D-                                             Contains PII, including bank account
                     James Holloway Checks
    18                                                               numbers.
 D-20 – D-          James Holloway Financial           Contains PII, including bank account
    22                    Documents                                  numbers.
 D-23 –D-                                              Contains PII, including bank account
                Gary Snider Financial Documents
    27                                                               numbers.
               Excel Spreadsheet created by Hanfu
    D-28                                                            Contains PII.
                              Lee
               Letter from Hanfu Lee dated March
    D-32                                                            Contains PII.
                            27 2019
  D-34, D-                                             Contains PII, including bank account
                 Hanfu Lee Financial Documents
  36, D-39                                                           numbers.
    D-41         Oct 21 James threat 2024-04-17                   Contains PII.
                  John Mapes IOU from Perardi
    D-86                                                  Contains bank account number.
                            10.07.2022
                James text messages produced by
    D-88                                               Contains PII, including PII of minor.
                              Perardi
               Eric Perardi texts to FBI agents May
    D-91                                                            Contains PII.
                         2023 2024-04-21
   D-110       2022.07.28.Perardi.RP.Further TOs       Contains PII, including PII of minor.
                  Text message Gary Snider and
   D-149                                                            Contains PII.
                        Agent Noble Oct 5


       The undersigned hand-delivered a copy of this motion to defense counsel on June 20, 2024,

and he preliminarily indicated he was not opposed. The undersigned asked counsel to express any




                                               4
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opposition by 5pm today; none has been received as of the time of this filing. The Government

therefore believes this motion is unopposed.

       For the foregoing reasons, the Government requests temporary, limited sealing of the above

exhibits until further order of this Court.

                                                    Respectfully submitted,

                                                    JAIME ESPARZA
                                                    UNITED STATES ATTORNEY

                                                    By:
                                                    __________/s/______ _
                                                    MATT HARDING
                                                    DANIEL D. GUESS
                                                    Assistant United States Attorneys




                                               5
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                               CERTIFICATE OF SERVICE

       I hereby certify that a copy of the foregoing Government’s Motion was hand-delivered on

June 20, 2024, and has been delivered via electronic delivery on the CM/ECF system on June 21,

2024, to:

       Jeff Senter
       Attorney for Defendant Saint Jovite Youngblood
                                                         ________/s/_________
                                                         Matt Harding
                                                         Assistant United States Attorney
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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

    THE UNITED STATES OF AMERICA,                §
                                                 §
                                                 §
    v.                                           §
                                                      CRIMINAL NO. A-23-CR-135-RP
                                                 §
    SAINT JOVITE YOUNGBLOOD                      §
         a.k.a. Kota Youngblood,                 §
                          Defendant.             §
                                                 §

                                              ORDER

         The Court having considered the Government’s Motion For Limited Sealing Of Exhibits,

it is hereby

         ORDERED that the Government’s motion is GRANTED;

         IT IS FINALLY ORDERED that the following exhibits shall be SEALED until further

order of this Court, for substantially the reasons stated in the Government’s motion. Nothing in

this order shall be construed as limiting the parties’ use of exhibits for litigation in this case,

provided such use is consistent with this Court’s protective order [ECF No. 30].

     Exhibit Number                              Exhibit Description
           G-2 4                          Youngblood passport and passport card
            G-4                                     Holloway will
           G-11                               Youngblood birth certificate
           G-13                                 Youngblood tax returns
    G-21 – G-22, G-24,
    G-31, G-33 – G-57,
    G-60 – G-63; D-59 –
                                   Audio/Video Recordings Involving Undercover Agent
    D-70 (not including
        sub-exhibit
        transcripts)
           G-69                                     Copy of DOJ search
           G-72                        Levins – Witness Testimony DOJ Youngblood
           G-75                           Flag appraisal email - Perardi Bridgman
           G-76                      Flag Invoice - April 2022 - Bridgman Youngblood
4
    Government exhibits are denoted in this table as G-# and defense exhibits are denoted D-#.
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  Exhibit Number                          Exhibit Description
        G-78                    Flag Payments - Knecht Wire Transfers
   G-84 – G-104                    Eric Perardi Financial Documents
       G-105                             Perardi - Clock Emails
       G-115                 Steiner Ranch Truth (@TruthRanch) – Twitter
   G-116 – G-119                      Perardi Financial Documents
   G-120 – G-122                  Lane Holloway Financial Documents
       G-123                  Lane Holloway Family Name Change Order
       G-125                               Derogatory Flyers
       G-138                         Lane Holloway - Wire Receipts
 G-139 –G-140, G-
142 – G-143, G-161                 Lane Holloway Notes and Excerpts
      – G-163
       G-144                         February 2023 Yelp Review
       G-167                              Photo of dog tags
   G-177 – G-182                 James Holloway Financial Documents
  G-188, G-191, G-
                                   Gary Snider Financial Documents
    197 – G-218
   G-192 – G-196                         Gary Snider Videos
       G-245            Hanfu Lee - Money Paid to Youngblood from 2010 to 2017
       G-247                Hanfu Lee - Money Paid to Youngblood in 2023
   G-249 –G-250                     Hanfu Lee Financial Documents
       G-251            Youngblood July 2023 Navy Federal Statement and Wires
       G-284                            Photo of Credit Cards
       G-295                          Southwest Airlines Records
D-1 –D-8 (including
sub-exhibits of D-1),
 D-42, D-44 – D-57,                Eric Perardi Financial Documents
  D-101, D-104, D-
111, D-144 – D-146
 D-9 – D-10, D-13,
 D-15, D-84 – D-85,                       Eric Perardi Emails
D-89 – D-90, D-107
        D-14             Perardi engagement letter with Steve Toland Law Office
    D-17 – D-18                          James Holloway Checks
    D-20 – D-22                   James Holloway Financial Documents
    D-23 –D-27                      Gary Snider Financial Documents
        D-28                     Excel Spreadsheet created by Hanfu Lee
        D-32                   Letter from Hanfu Lee dated March 27 2019
  D-34, D-36, D-39                   Hanfu Lee Financial Documents
        D-41                          Oct 21 James threat 2024-04-17
        D-86                    John Mapes IOU from Perardi 10.07.2022
        D-88                     James text messages produced by Perardi
        D-91              Eric Perardi texts to FBI agents May 2023 2024-04-21
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Exhibit Number                           Exhibit Description
    D-110                         2022.07.28.Perardi.RP.Further TOs
    D-149                   Text message Gary Snider and Agent Noble Oct 5


                 SIGNED this ____________ day of ____________________, 2024.


                                    __________________________________________
                                    ROBERT L. PITMAN
                                    UNITED STATES DISTRICT JUDGE
